Case 2:09-cr-00166-LRS   ECF No. 75   filed 06/25/10   PageID.217 Page 1 of 6
Case 2:09-cr-00166-LRS   ECF No. 75   filed 06/25/10   PageID.218 Page 2 of 6
Case 2:09-cr-00166-LRS   ECF No. 75   filed 06/25/10   PageID.219 Page 3 of 6
Case 2:09-cr-00166-LRS   ECF No. 75   filed 06/25/10   PageID.220 Page 4 of 6
Case 2:09-cr-00166-LRS   ECF No. 75   filed 06/25/10   PageID.221 Page 5 of 6
Case 2:09-cr-00166-LRS   ECF No. 75   filed 06/25/10   PageID.222 Page 6 of 6
